AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             Eastern District
                                             __________       of North
                                                          District     Carolina
                                                                   of __________


                  Brandon Lovell Webster                       )
                             Plaintiff                         )
                                v.                             )      Case No.7:20-CV-248
                    Scott Anthony Collins                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Decedent/Plaintiff Brandon Lovell Webster and heirs                                                           .


Date: 12/15/20
                                                                                         Attorney’s signature


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